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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,
    Plaintiff,
                                                              C.A. No. 18-682-GMS
   v.
                                                                 PATENT CASE
BJ’S WHOLESALE CLUB, INC.,
                                                           JURY TRIAL DEMANDED
      Defendant.


            BJ’S WHOLESALE CLUB, INC.’S ANSWER, AFFIRMATIVE
         DEFENSES, AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

        Defendant BJ’s Wholesale Club, Inc. (“BJ’s”) files this Answer, Affirmative Defenses,

and Counterclaims to Plaintiff Symbology Innovations LLC’s (“Plaintiff” or “Symbology”)

Complaint for Infringement of Patent (“Complaint”). BJ’s denies the allegations and

characterizations in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.

                                  NATURE OF THE ACTION

        1.     BJ’s admits that the Complaint purports to set forth an action for patent

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that the

Plaintiff purports to seek injunctive relief as well as damages, attorney’s fees, and costs. BJ’s

further admits that a purported copy of U.S. Patent No. 8,424,752 (the “’752 Patent”) is attached

to the Complaint as Exhibit A; U.S. Patent No. 8,651,369 (the “’369 Patent”) is attached to the

Complaint as Exhibit B; and U.S. Patent No. 8,936,190 (the “’190 Patent”) is attached to the

Complaint as Exhibit C (collectively, the “Patents-in-Suit”). BJ’s denies it has committed or is

committing acts of infringement and/or “profiting, in an illegal and unauthorized manner and

without authorization and/or of the consent from Symbology” such that Plaintiff is entitled to any

relief from BJ’s. BJ’s denies any remaining allegations in Paragraph 1 of the Complaint.




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                                          THE PARTIES

       2.      BJ’s is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 2 of the Complaint and, on that basis, denies all such allegations.

       3.      BJ’s admits that it is a Delaware corporation, and that it has a place of business

located at 25 Research Drive, Westborough, Massachusetts 01581. BJ’s further admits that it can

be served at The Corporation Trust Company, Corporation Trust Center 1209 Orange Street,

Wilmington, Delaware 19801. BJ’s denies any remaining allegations in Paragraph 3 of the

Complaint.

                                 JURISDICTION AND VENUE

       4.      BJ’s admits that the Complaint purports to set forth an action for infringement

under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that this Court has subject

matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff

has alleged infringement of a patent, but BJ’s denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. BJ’s denies any remaining allegations

in Paragraph 4 of the Complaint.

       5.      BJ’s does not contest whether personal jurisdiction over it properly lies in this

district in this case, or that it conducts business in the State of Delaware. BJ’s denies it has

committed or is committing acts of infringement within the State of Delaware or in this district

and, on that basis, denies the remaining allegations of Paragraph 5 of the Complaint.

       6.      BJ’s does not contest whether personal jurisdiction over it properly lies in this

District in this case, or that it conducts business in the State of Delaware. BJ’s denies it has

committed or is committing acts of infringement within the State of Delaware or in this District

and, on that basis, denies the remaining allegations of Paragraph 6 of the Complaint.
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       7.      BJ’s incorporates its admissions, averments, and denials in Paragraph 3 above as

if set forth fully herein. BJ’s does not contest that venue may be proper but denies that venue is

convenient in this District as to BJ’s. BJ’s denies the remaining allegations of Paragraph 7 of the

Complaint.

                          [ALLEGED] FACTUAL ALLEGATIONS

                                            ’752 Patent

       8.      BJ’s admits that the purported copy of the ’752 Patent that is attached to the

Complaint as Exhibit A indicates that it issued on April 23, 2013, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” BJ’s is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 8 of the Complaint and, on that basis, denies all such allegations.

       9.      BJ’s is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 9 of the Complaint and, on that basis, denies all such allegations.

       10.     BJ’s admits that the purported copy of the ’752 Patent that is attached to the

Complaint as Exhibit A appears to contain three independent claims and 25 dependent claims.

BJ’s denies the remaining allegations of Paragraph 10 of the Complaint.

       11.     BJ’s denies that the claims of the ’752 Patent constitute inventions or patent

subject matter. BJ’s is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 11 of the Complaint and, on that basis, denies all

such allegations.

                                            ’369 Patent

       12.     BJ’s admits that the purported copy of the ’369 Patent that is attached to the

Complaint as Exhibit B indicates that it issued on February 18, 2014, and is entitled “System and
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Method for Presenting Information About an Object on a Portable Electronic Device.” BJ’s is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 12 of the Complaint and, on that basis, denies all such allegations.

       13.     BJ’s is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 13 of the Complaint and, on that basis, denies all such allegations.

       14.     BJ’s admits that the purported copy of the ’369 Patent that is attached to the

Complaint as Exhibit B appears to contain three independent claims and 25 dependent claims.

BJ’s denies the remaining allegations of Paragraph 14 of the Complaint.

       15.     BJ’s denies that the claims of the ’369 Patent constitute inventions or patent

subject matter. BJ’s is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 15 of the Complaint and, on that basis, denies all

such allegations.

                                            ’190 Patent

       16.     BJ’s admits that the purported copy of the ’190 Patent that is attached to the

Complaint as Exhibit C indicates that it issued on January 20, 2015, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” BJ’s is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 16 of the Complaint and, on that basis, denies all such allegations.

       17.     BJ’s is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 17 of the Complaint and, on that basis, denies all such allegations.

       18.     BJ’s admits that the purported copy of the ’190 Patent that is attached to the

Complaint as Exhibit C appears to contain three independent claims and 17 dependent claims.

BJ’s denies the remaining allegations of Paragraph 18 of the Complaint.
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        19.     BJ’s denies that the claims of the ’190 Patent constitute inventions or patent

subject matter. BJ’s is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 19 of the Complaint and, on that basis, denies all

such allegations.

                                     COUNT I
                    [ALLEGED] INFRINGEMENT OF THE ’752 PATENT

        20.     BJ’s incorporates by reference its responses in Paragraphs 1-19 above as if fully

set forth herein.

        21.     BJ’s denies the allegations in Paragraph 21 of the Complaint.

        22.     BJ’s admits that it has had knowledge of the ’752 Patent since the time it was

served with the Complaint. BJ’s denies the remaining allegations in Paragraph 22 of the

Complaint.

        23.     BJ’s denies the allegations in Paragraph 23 of the Complaint.

        24.     BJ’s admits that a Quick Response (QR) code has appeared on some promotional

material. BJ’s denies that it has committed or is committing acts of infringement in this District

or elsewhere and, on that basis, denies any remaining allegations in Paragraph 24 of the

Complaint.

        25.     BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 25 of the Complaint and, on that basis, denies

all such allegations.

        26.     BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to
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the truth of the remaining allegations in Paragraph 26 of the Complaint and, on that basis, denies

all such allegations.

        27.     BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 27 of the Complaint and, on that basis, denies

all such allegations.

        28.     BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 28 of the Complaint and, on that basis, denies

all such allegations.

        29.     BJ’s denies the allegations in Paragraph 29 of the Complaint.

        30.     BJ’s denies the allegations in Paragraph 30 of the Complaint.

        31.     BJ’s denies the allegations in Paragraph 31 of the Complaint.

        32.     BJ’s denies the allegations in Paragraph 32 of the Complaint.

        33.     BJ’s denies the allegations in Paragraph 33 of the Complaint.

                                     COUNT II
                    [ALLEGED] INFRINGEMENT OF THE ’369 PATENT

        34.     BJ’s incorporates by reference its responses in Paragraphs 1-33 above as if fully

set forth herein.

        35.     BJ’s denies the allegations in Paragraph 35 of the Complaint.

        36.     BJ’s admits that it has had knowledge of the ’369 Patent since the time it was

served with the Complaint. BJ’s denies the remaining allegations in Paragraph 36 of the

Complaint.

        37.     BJ’s denies the allegations in Paragraph 37 of the Complaint.
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       38.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 38 of

the Complaint

       39.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 39 of the Complaint and, on that basis, denies

all such allegations.

       40.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 40 of the Complaint and, on that basis, denies

all such allegations.

       41.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 41 of the Complaint and, on that basis, denies

all such allegations.

       42.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 42 of the Complaint and, on that basis, denies

all such allegations.

       43.      BJ’s denies the allegations in Paragraph 43 of the Complaint.

       44.      BJ’s denies the allegations in Paragraph 44 of the Complaint.

       45.      BJ’s denies the allegations in Paragraph 45 of the Complaint.
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        46.      BJ’s denies the allegations in Paragraph 46 of the Complaint.

        47.      BJ’s denies the allegations in Paragraph 47 of the Complaint.

                                    COUNT III
                    [ALLEGED] INFRINGEMENT OF THE ’190 PATENT

        48.      BJ’s incorporates by reference its responses in Paragraphs 1-47 above as if fully

set forth herein.

        49.      BJ’s denies the allegations in Paragraph 49 of the Complaint.

        50.      BJ’s admits that it has had knowledge of the ’190 Patent since the time it was

served with the Complaint. BJ’s denies the remaining allegations in Paragraph 50 of the

Complaint.

        51.      BJ’s denies the allegations in Paragraph 51 of the Complaint.

        52.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 52 of

the Complaint.

        53.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 53 of

the Complaint.

        54.      BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 54 of

the Complaint.
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       55.       BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 55 of

the Complaint.

       56.       BJ’s incorporates its admissions, averments, and denials in Paragraph 24 above as

if set forth fully herein. BJ’s denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 56 of

the Complaint.

       57.       BJ’s denies the allegations in Paragraph 57 of the Complaint.

       58.       BJ’s denies the allegations in Paragraph 58 of the Complaint.

       59.       BJ’s denies the allegations in Paragraph 59 of the Complaint.

       60.       BJ’s denies the allegations in Paragraph 60 of the Complaint.

       61.       BJ’s denies the allegations in Paragraph 61 of the Complaint.

                         [PLAINTIFF’S] DEMAND FOR JURY TRIAL

       62.       BJ’s is not required to provide a response to Plaintiff’s request for a trial by jury.

                             [PLAINTIFF’S] PRAYER FOR RELIEF

       BJ’s denies that Plaintiff is entitled to any relief from BJ’s and denies all the allegations

contained in Paragraphs a-f of Plaintiff’s Prayer for Relief.

                                    AFFIRMATIVE DEFENSES

       BJ’s’s Affirmative Defenses are listed below. BJ’s reserves the right to amend its answer

to add additional Affirmative Defenses consistent with the facts discovered in this case.

                                FIRST AFFIRMATIVE DEFENSE

       BJ’s has not infringed and does not infringe, under any theory of infringement (including

directly (whether individually or jointly) or indirectly (whether contributorily or by
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inducement)), any valid, enforceable claim of the ’752, ’369, and ’190 Patents (collectively, the

“Asserted Patents”).

                             SECOND AFFIRMATIVE DEFENSE

       Each asserted claim of the Asserted Patents is invalid for failure to comply with one or

more of the requirements of the United States Code, Title 35, including without limitation, 35

U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the Asserted Patents against BJ’s is barred by the

doctrine of inequitable conduct.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to any of the Asserted Patents

failed to properly mark any of their relevant products or materials as required by 35 U.S.C. §

287, or otherwise give proper notice that BJ’s actions allegedly infringe the Asserted Patents,

BJ’s is not liable to Plaintiff for the acts alleged to have been performed before it received actual

notice that it was allegedly infringing the Asserted Patents.

                              FIFTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that BJ’s indirectly infringes, either by contributory

infringement or inducement of infringement, BJ’s is not liable to Plaintiff for the acts alleged to

have been performed before BJ’s knew that its actions would cause indirect infringement.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the Asserted Patents against BJ’s is barred by one or

more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.
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                            SEVENTH AFFIRMATIVE DEFENSE

       The claims of the Asserted Patents are not entitled to a scope sufficient to encompass any

system employed or process practiced by BJ’s.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that BJ’s makes, uses, or sells

each claimed element of any asserted claim, or that BJ’s directs or controls another entity to

make, use, or sell any element that is not made, used, or sold by BJ’s.

                              NINTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

Asserted Patents do not claim patentable subject matter under 35 U.S.C. § 101.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any method employed by

BJ’s: (1) captures a digital image; (2) detects symbology associated with the digital image; (3)

decodes the symbology to obtain a decode string; (4) sends the decode string to a remote server

for processing; (5) alerts the user when an image containing symbology has been detected; (6)

asks the user if decoding of the symbology is desired; and/or (7) receives a reply from the user as

required by the Asserted Patents.
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                                   BJ’S’ COUNTERCLAIMS

       For its counterclaims against Plaintiff Symbology Innovations, LLC (“Symbology”),

Counterclaim Plaintiff BJ’s Wholesale Club, Inc. (“BJ’s”) alleges as follows:

                                            PARTIES

       1.      Counterclaim Plaintiff BJ’s is a corporation organized and existing under the laws

of the State of Delaware, with its principal place of business located 25 Research Drive,

Westborough, Massachusetts 01581.

       2.      Upon information and belief based solely on Paragraph 2 of the Complaint as pled

by Plaintiff, Counterclaim Defendant Symbology is a limited liability company organized and

existing under the laws of the State of Texas, and maintains its principle place of business at

1400 Preston Road, Suite 400, Plano, Texas 75093.

                                        JURISDICTION

       3.      BJ’s incorporates by reference Paragraphs 1–2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      Symbology has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.

       6.      Based solely on Symbology’s filing of this action, venue is proper, though not

necessarily convenient, in this district pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      BJ’s incorporates by reference Paragraphs 1–6 above.
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       8.      Based on Symbology’s filing of this action and at least BJ’s’ first affirmative

defense, an actual controversy has arisen and now exists between the parties as to whether BJ’s

infringes U.S. Patent Nos. 8,424,752 (the “’752 Patent”); 8,651,369 (the “’369 Patent”); and/or

8,936,190 (the “’190 Patent) (collectively, the “Asserted Patents”).

       9.      BJ’s does not infringe (a) Claim 1 of the ’752 Patent, Claim 1 of the ’369 Patent,

or Claim 1 of the ’190 Patent because, among other things, it does not “use” or “test” any method

or system that: (i) captures a digital image, (ii) detects symbology associated with the digital

image, (iii) decodes the symbology to obtain a decode string, or (iv) sends the decode string to a

remote server for processing; (b) Claim 17 of the ’752 Patent, Claim 17 of the ’369 Patent, or

Claim 17 of the ’190 Patent because, among other things, it does not “use” or “test” any method

or system that includes: (i) logic adapted to capture a digital image, (ii) logic adapted to detect

symbology associated with the digital image, (iii) logic adapted to decode the symbology to

obtain a decode string, (iv) logic adapted to send the decode string to a remote server for

processing, or (v) logic adapted to receive a second amount of information about the object based

on the decode string from the remote server; (c) Claim 24 of the ’752 Patent, Claim 24 of the

’369 Patent, or Claim 20 of the ’190 Patent because, among other things, it does not “use” or

“test” any method or system that includes: (i) a symbology detecting module configured to detect

symbology associated with the digital image, (ii) a decoding module configured to decode the

symbology to obtain a decode string, (iii) a transferring module configured to send the decode

string to a remote server for processing, and/or (iv) an information storage module configured to

receive information about the object from the remote server; and/or (d) Claim 6 of the ’752

Patent, Claim 6 of the ’369 Patent, or Claim 6 of the ’190 Patent because, among other things, it

does not “use” or “test” any method or system that: (i) alerts the user if decoding of the
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symbology is desired, (ii) asks the user if decoding of the symbology is desired, and/or (iii)

receives a reply from the user.

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., BJ’s

requests a declaration by the Court that BJ’s has not infringed and does not infringe any claim of

the Asserted Patents under any theory (including directly (whether individually or jointly) or

indirectly (whether contributorily or by inducement)).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     BJ’s incorporates by reference Paragraphs 1–10 above.

       12.     Based on Symbology’s filing of this action and at least BJ’s’ Second Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the validity of

the claims of the Asserted Patents.

       13.     The asserted claims of the Asserted Patents are anticipated and/or rendered

obvious by, inter alia, BarPoint.com; Neomedia’s Neo Reader; Microsoft’s Smart Tags;

Android’s Shop Savvy; Red Laser; ScanBuy; U.S. Serial No. 60/118,051; U.S. Serial No.

60/187,646; U.S. Serial No. 60/185,546; U.S. Patent Application 2008/0004978; U.S. Patent No.

6,430,554; and/or U.S. Patent No. 6,651,053.

       14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., BJ’s

requests a declaration by the Court claims of the Asserted Patents are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

thereto.
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                                     PRAYER FOR RELIEF

       WHEREFORE, BJ’s asks this Court to enter judgment in BJ’s’ favor and against

Symbology by granting the following relief:

       a)      a declaration that the Asserted Patents are invalid;

       b)      a declaration that BJ’s does not infringe, under any theory, any valid claim of the

Asserted Patents that may be enforceable;

       c)      a declaration that the Asserted Patents are unenforceable;

       d)      a declaration the Symbology take nothing by its Complaint;

       e)      judgment against Symbology and in favor of BJ’s;

       f)      dismissal of the Complaint with prejudice;

       g)      a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

to BJ’s of its costs and attorneys’ fees incurred in this action; and

       h)      further relief as the Court may deem just and proper.

                                         JURY DEMAND

       BJ’s hereby demands trial by jury on all issues.
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Dated: May 29, 2018                   Respectfully submitted,

                                      FISH & RICHARDSON P.C.



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                                      COUNSEL FOR DEFENDANT
                                      BJ’S WHOLESALE CLUB, INC.
